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June 25, 2014
VIA ECF
The Honorable Lorna G. Schofield
U.S. District Court, Southern District of New York
40 Foley Square
New York, NY 10007-1312

Re: Kriss, et al., v. Bavrock Group, LLC et al., 13 CV 3905 (LGS)
Dear Judge Schofield:

The Court's Order dated June 16, 2014 (ECF No. 79) did not authorize a reply from
plaintiffs' counsel, Who invert the normal order of procedure, and place an improper burden upon
the Court, by announcing in their June 24th letter that they "Will" file a reply "unless the court
obj ects."

We respectfully suggest that the Court either reiterate that no reply Was called for or is
authorized, or in the alternative Simply refuse to consider any reply that may be unilaterally filed
Without authorization Plaintiffs' abuse of the court system should be reined in rather than
indulged (and in that regard, We note that plaintiffs’ letter did not comply With the requirements
set forth by the Court in ECF No. 49).

We repeat for the record that our client is entitled to see a copy of the amended complaint
in this action ~ indeed, defendant’S inability to review the contents of the pleading purporting to
sue him remains a gross deprivation of due process - and We await an order from either Your
Honor or Magistrate Judge Maas addressing that important issue.

Thank you.

Respe§tful yours,

B¢i’/é Wolf

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cc (by e-mail and ecD: Frederick M. Oberlander, Esq.
Richard E. Lerner, Esq.
Nader Mobargha, Esq.

